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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
PRODUCTS LIABILITY LITIGATION SECTION L

This document relates to: JUDGE FALLON

Maria Isabel Vélez-Reyes, et al.v. Merck & Co.,

Inc., et als.,

MDL Docket No. 05-cv-06404 MAG. JUDGE KNOWLES

STIPULATION OF DISMISSAL WITHOUT PREJUDICE

Plaintiff, Miguel Angel Astor-Villanueva (“Astor”), and Defendant, Merck & Co., Inc.
(“Merck”), hereby stipulate, pursuant to Fed. R. Civ. Proc. 41{a)(1), to a dismissal without prejudice
of the above-styled lawsuit, subject to the following conditions:

1. Astor agrees that in the event he re-files a lawsuit against Merck that contains claims
relating to Vioxx®, such lawsuit will be filed in the United States District Court; and

2, Astor further agrees that in the event he re-ftles such lawsuit, any discovery that has
taken place or will take place in in re Vioxx Products Liab. Litig. (MDL-1657), the MDL proceeding
that has been established in the United States District Court for the Eastern District of Louisiana, and
that is not specific to a particular plaintiff, can be used in any such lawsuit re-filed by Astor , as though
Astor had been a party and had an opportunity to participate in that discovery.

Astor agrees to the above-stated conditions and wishes to dismiss the instant lawsuit without
prejudice to re-filing. Apart from Merck, Astor agrees that the dismissal! without prejudice includes the
claims made against the following unserved defendants, to wit: Astra Merck, Inc.; Merck Sharp &

Dohme P.R. LTD; Merck Sharp & Dohme Chemical; Merck & Company, Incorporated; Merck de P.R.,

Inc.; Merck Sharp & Dohme Quimica de P.R. There are no counterclaims or third-party claims.
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WHEREFORE, the parties hereto stipulate to the dismissal of the above-styled lawsuit without
prejudice to re-filing, subject to the conditions stated above.

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal Without Prejudice has
been served on Liaison Counsei, Russ Herman and Phillip Wittmann by U.S. Mail and e-mail or by
hand delivery and e-mail and upon all parties by electronically uploading the same to Lexis Nexis File
& Serve Advanced in accordance with Pre-Trial Order No. 8B, and that the foregoing was electronically
filed with the Clerk of the United States Court for the Eastern District of Louisiana by using the

CM/ECF system which will send a Notice of Electronic filing in accord with the procedures established

in MDL 1657, on this Day or Oc Anley?_aoos.

/s/ Dorothy H. Wimberly
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